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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
STACEY L. SCHMADER, et al.,                :    Civil No. 1:20-CV-00067
                                           :
             Plaintiffs,                   :
                                           :
             v.                            :
                                           :
THOMAS ALAN LINZEY, et al.,                :
                                           :
             Defendants.                   :    Judge Jennifer P. Wilson

                                      ORDER
      AND NOW, on this 21st day of January, 2020, IT IS ORDERED that a

status conference is scheduled for tomorrow, January 22, 2020, at 3:00 p.m.

The conference will be by telephone. Counsel for Plaintiffs shall arrange for a

call-in number for the court and all counsel to call at the appointed time.

                                       s/Jennifer P. Wilson
                                       JENNIFER P. WILSON
                                       United States District Court Judge
                                       Middle District of Pennsylvania
